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 PEARSON, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


  KRISTEN DRAPOLA,                                )
                                                  )   CASE NO. 22-CV-00876
                      Plaintiff,                  )
                                                  )
                     v.                           )   JUDGE BENITA Y. PEARSON
                                                  )
  CSL PLASMA, INC., et. al,                       )
                                                  )   ORDER
                      Defendants.                 )


        The Court issued a Show Cause Order to all Defendants because subject matter

 jurisdiction in question. ECF No. 5. Defendant responded at ECF No. 7 and Plaintiff responded

 at ECF No. 13. Having reviewed the parties’ submissions, the record, and the applicable law, the

 Court remands the case.

                                         I.     Background

        Initially, the Court was concerned it lacked subject matter jurisdiction because the

 amount in controversy was questionable. Instead of addressing the amount in controversy issue

 in the briefing, Plaintiff indicated that she intended on serving a previously named but unserved

 Defendant, which would destroy complete diversity in this case. ECF No. 13. Plaintiff then

 followed up at ECF No. 14 indicating that such service had been perfected.

                                       II. Standard of Review

        A party may remove an action from state court if the federal court to which the action is

 removed would otherwise have had original jurisdiction. 28 U.S.C. § 1441(a). In a case alleging

 diversity jurisdiction, the Court has subject matter jurisdiction when the citizenship of the parties
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 are sufficiently diverse and the amount in controversy exceeds $75,000. 28 U.S.C. § 1332.

 “Under [§ 1332], there must be complete diversity such that no plaintiff is a citizen of the same

 state as any defendant.” See V & M Star, LP v. Centimark Corp., 596 F.3d 354, 355 (6th Cir.

 2010)(citing Lincoln Prop. Co. v. Roche, 546 U.S. 81, 89 (2005)). When a party is joined after

 proper removal, the Court must remand if that party is not diverse, unless the moving party

 demonstrates that the joinder of that party was fraudulent. Saginaw Hous. Comm'n v. Bannum,

 Inc., 576 F.3d 620, 624 (6th Cir. 2009).

                                                III. Analysis

         Plaintiff is a citizen of Ohio and has now successfully served a Defendant that is a citizen

 of Ohio. ECF No 1 at PageID #: 2; ECF No. 14 at PageID #: 100. With a citizen of Ohio on

 both sides of the dispute, there is no longer complete diversity in this matter. Without complete

 diversity the Court does not have jurisdiction, pursuant to 28 U.S.C §1332. There is no evidence

 that any party was fraudulently joined, and the removing party has made no allegations of fraud.

                                            IV. Conclusion

         Accordingly, this case is remanded to the Court of Common Pleas of Trumbull County,

 Ohio.


         IT IS SO ORDERED.


  August 8, 2022                                           /s/ Benita Y. Pearson
  Date                                                    Benita Y. Pearson
                                                          United States District Judge




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